3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 355-1   Page 1 of 11




                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                    EXHIBIT 1
3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22    Entry Number 355-1    Page 2 of 11




                                                                        Page 1

 1
 2      UNITED STATES DISTRICT COURT
 3      DISTRICT OF SOUTH CAROLINA
 4      CASE NO.      3:21-CV-03302-MBS-TJH-RMG
 5      -----------------------------------------x
 6      THE SOUTH CAROLINA CONFERENCE OF THE
 7      NAACP, et al,
 8                                                   Plaintiffs,
 9                            -against-
10
11      THOMAS C. ALEXANDER, et al,
12                                                   Defendants.
13      -----------------------------------------x
14                                             July 21, 2022
                                               9:30        a.m.
15
16                    ZOOM VIRTUAL CONFERENCE
17
18                    VIDEOCONFERENCE Examination
19      Before Trial of SEAN PATRICK TRENDE, taken
20      by the Defendants, via Zoom Technology,
21      pursuant to Notice, held before R. Bobbie
22      Levy, a Certified Shorthand Reporter and
23      Notary Public of the State of New York.
24
25

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22    Entry Number 355-1     Page 3 of 11




                                                                        Page 40

 1                          S. Trende
 2             A      Without making us sit through
 3      the exercise of me reading the report, I
 4      think that's right and I have no reason
 5      to doubt you.
 6             Q      Is it fair that you have no
 7      opinions you intend to offer at trial
 8      about the reports filed by Dr. Duchin,
 9      Dr. Liu or Dr. Bagley?
10             A      Certainly not their opening
11      reports.      I don't know how things work
12      with their rebuttal reports since I know
13      Dr. Liu, Dr. Bagley and Dr. Duchin filed
14      rebuttal reports to my opinion.                        And
15      Dr. Ragusa.
16             Q      Okay.       So just so we are clear,
17      as to their initial reports you are not
18      planning to offer any opinions concerning
19      the initial reports of Dr. Duchin, Dr. Liu
20      or Dr. Bagley, correct?
21             A      That's correct.
22             Q      And I'll ask the question asked
23      earlier.      Are you planning to supplement
24      your reports in any way to address the
25      rebuttal reports of Dr. Duchin, Dr. Liu,

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22    Entry Number 355-1     Page 4 of 11




                                                                        Page 41

 1                          S. Trende
 2      Dr. Bagley or Dr. Ragusa?
 3             A      No.     I don't intend to do any
 4      supplemental reports or work respecting
 5      the expert reports of Dr. Duchin,
 6      Dr. Liu, L-i-u or Dr. Bagley.
 7             Q      So let me circle back.                    Are you
 8      planning to offer any opinions at trial
 9      about the analysis presented by
10      Dr. Duchin, Dr. Liu or Dr. Bagley?
11             A      I have no idea what might be
12      asked as sort of rehabilitation to the
13      extent you cross me on their rebuttal
14      reports.      But with respect to their
15      initial reports, I don't have any
16      intention to testify with respect to
17      those.
18             Q      Okay.       And with regard to their
19      rebuttal reports, putting aside from I
20      might ask you on cross-examination, do you
21      have any plans to testify about their
22      rebuttal reports in your direct testimony?
23             A      Well, again, I don't have, I
24      don't even know if I'll be testifying
25      live at trial.          And I certainly haven't

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22    Entry Number 355-1     Page 5 of 11




                                                                        Page 42

 1                          S. Trende
 2      and doubt I will draft my direct.                         But
 3      no, I don't have any intentions to do so.
 4             Q        Okay.     Sitting here today do you
 5      have any opinions concerning Dr. Duchin's
 6      rebuttal report?
 7             A        I have certainly read it and
 8      given it thought.            So I assume I have
 9      opinions with respect to it.                       So yes.
10             Q        What are your opinions with
11      regards to Dr. Duchin's rebuttal report?
12             A        I couldn't rehearse them on the
13      fly.        We would have to walk through that
14      report.
15             Q        Are there any, sitting here
16      today are you prepared to express any
17      opinions regarding Dr. Duchin's report?
18             A        Well, again not on the fly but
19      as we go through, if you show me
20      Dr. Duchin's rebuttal report and ask me
21      about something, there's a reasonable
22      chance I have an opinion about it.
23                      So I'm not going to close myself
24      out of the ability to give that answer
25      two hours later if we are going through

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22    Entry Number 355-1     Page 6 of 11




                                                                        Page 43

 1                          S. Trende
 2      Dr. Duchin's rebuttal report.
 3             Q      Do you know when Dr. Duchin's
 4      rebuttal report was served?
 5             A      I do not.
 6             Q      It was served on May 4th.                         The
 7      same day you served your rebuttal report.
 8      So you have had over two months to express
 9      any opinions you had regarding Dr.
10      Duchin's report or supplementary report.
11                    Is there a reason you have not
12      prepared a supplemental report to address
13      Dr. Duchin's any criticisms you have,
14      Dr. Duchin's supplemental rebuttal report?
15             A      Well, from what I was informed
16      about the scheduling order, it doesn't
17      include a supplement.                And it's pretty
18      unusual in my experience to move to go
19      outside the scheduling order to write a
20      supplement.         And I wasn't asked by
21      counsel to prepare one.
22             Q      Same question with regard to
23      Dr. Liu.      Is there a reason why, do you
24      have any, sitting here today can you tell
25      me any criticisms you have of Dr. Liu

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22    Entry Number 355-1     Page 7 of 11




                                                                        Page 44

 1                          S. Trende
 2      based on his rebuttal report?
 3             A      Well, again it's the same basic
 4      answer.     These are not lengthy reports
 5      but substantial reports.                   And so on the
 6      fly, I certainly couldn't give you all my
 7      thoughts and opinions on it.
 8                    That said, if you were to ask me
 9      about things on cross, that I have
10      thought about or even at the time have
11      impressions about, I'm not inclined to
12      close myself out of the ability to give
13      that answer.
14             Q      Sitting here today are you
15      prepared to identify any criticisms you
16      have of Dr. Liu based on his rebuttal
17      report?
18             A      Well, again, two hours from now
19      if we go through Dr. Liu's rebuttal
20      report and you asked me about something,
21      I'll probably have given it some thought
22      and have opinions about it.
23                    Nothing in it changed my mind
24      nor in Dr. Duchin's report.                        But beyond
25      that sitting right here, no, I could not

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22    Entry Number 355-1     Page 8 of 11




                                                                        Page 45

 1                          S. Trende
 2      tell you what my specific opinions with
 3      respect to Dr. Liu are.
 4             Q      Okay.       And in the time since
 5      Dr. Liu's rebuttal report was served in
 6      early May, is there any reason why you
 7      couldn't have expressed any opinions you
 8      had concerning Dr. Liu's analysis in a
 9      supplemental report?
10             A      Well, again, to my
11      understanding, the scheduling order
12      doesn't provide for third or supplemental
13      reports to respond to expert opinions.
14                    And in my experience it would be
15      unusual to revise the scheduling order to
16      provide for such reports.                    And beyond
17      that, I wasn't asked to do so by Counsel.
18             Q      Okay.       And then same question
19      with regard to Dr. Bagley.                     Sitting here
20      today, are you, sitting here today can you
21      articulate any criticisms you have of
22      Dr. Bagley based on his rebuttal report?
23             A      Well, again, it's a substantial
24      report.     So on the fly in response to an
25      open-ended question, I wouldn't be able

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22    Entry Number 355-1     Page 9 of 11




                                                                        Page 46

 1                          S. Trende
 2      to come up with a list of responses or
 3      objections to Dr. Bagley's report.                         With
 4      that said, you may at some point in the
 5      future ask me questions about Dr.
 6      Bagley's report and I wouldn't want to
 7      close myself out of being able to give an
 8      answer there.
 9                    In addition, if you were to
10      cross me on things at trial, it's likely
11      I would have a response to them.                        But
12      again, sitting here right now at this
13      moment, in response to an open-ended
14      question, I can't give a list, no.
15             Q      Sitting here today can you
16      identify any criticisms you have of
17      Dr. Bagley?
18             A      Again, without going through the
19      rebuttal report I would not have
20      something in response to an open-ended
21      question.
22             Q      Okay.       And in the time since
23      Dr. Bagley searched his rebuttal report in
24      early May, is there any reason you don't
25      have prepared a supplemental report to

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3:21-cv-03302-MGL-TJH-RMG   Date Filed 09/02/22   Entry Number 355-1    Page 10 of 11




                                                                       Page 47

  1                         S. Trende
  2      address any criticisms you have of
  3      Dr. Bagley's report?
  4             A     Well, again, to my understanding
  5      the scheduling order doesn't provide for
  6      supplemental reports.               And in my
  7      experience it will be unusual to modify
  8      scheduling order to do so.                    And I haven't
  9      been asked to do so by counsel.
 10             Q     Do you know any of the
 11      plaintiffs' experts, any of the five
 12      individuals?
 13             A     Not on a personal level, no.
 14             Q     Do you know any of them on a
 15      professional level?
 16             A     I have seen Dr. Imai, and
 17      Dr. Duchin give testimony.                    But that's
 18      the extent of it.
 19             Q     Are you familiar with Dr. Imai's
 20      professional qualifications?
 21             A     In a general sense, yes.
 22             Q     Do you have any opinion about
 23      his qualifications to provide his opinions
 24      in his reports?
 25             A     I think he is certainly

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3:21-cv-03302-MGL-TJH-RMG    Date Filed 09/02/22   Entry Number 355-1   Page 11 of 11




                                                                    Page 225

  1
  2      E X H I B I T S
  3      FOR IDENTIFICATION
  4      EXHIBIT                 DESCRIPTION                      PAGE
  5      Exhibit 17         Email dated 11/24/21                  165
  6                         Bats stamped
  7                         SC-Senate-00005245
  8                         Labeled Tab 35
  9
 10           Exhibits attached electronically to
 11                         transcript
 12
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